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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

   ALLSTATE INSURANCE COMPANY, et
   al.,
                                                                          08-CV-4405
                              Plaintiffs,
                                                                          (PKC) (PK)
                       -against-
                                                                   NOTICE OF MOTION
   MARK MIRVIS, et al.,

                                       Defendants.



         PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in support

  of this Motion, the annexed declaration of Andrew Midgett, Esq. dated June 17, 2019, and exhibits

  attached thereto, and upon all prior pleadings and proceedings herein, Plaintiffs-Judgment

  Creditors Allstate Insurance Company, Allstate Indemnity Company, Deerbrook Insurance

  Company, Allstate New Jersey Insurance Company, and Allstate Property & Casualty Insurance

  Company (“Plaintiffs”) will move this Court before the Honorable Pamela K. Chen, at the United

  States Courthouse, 225 Cadman Plaza E, Brooklyn, NY 11201, Courtroom 4F N, pursuant to the

  New York Civil Practice Law and Rules and the Debtor and Creditor Law, made applicable to

  these proceedings by Rule 69(a)(1) of the Federal Rules of Civil Procedure, for an Order:

  (a) setting a briefing schedule for any responses to this Motion, and for any reply(ies) to such

  responses; (b) scheduling or holding such further briefing or proceedings as the Court may require;

  (c) authorizing and directing the United States Marshals Service for the Eastern District of

  New York to sell the real property known as 289 Bayberry Drive North, Hewlett Harbor, New

  York 11557, and identified in the land records of Nassau County as Section 42, Block 266, Lot 1,

  in accordance with Sections 5206(e) and 5236 of the C.P.L.R., with the proceeds of the sale to be
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  placed into the registry of the Court pending an adjudication of the rights and interests of parties

  and/or non-parties therein; and (d) granting such other or further relief as the Court may deem just

  and proper.

   Dated: June 17, 2019
          New York, New York

                                                           Respectfully submitted,


                                                           MORRISON MAHONEY LLP


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                                                           Allstate Indemnity Company, Allstate
                                                           Property & Casualty Insurance Company,
                                                           Allstate New Jersey Insurance Company,
                                                           and Allstate Fire & Casualty Insurance
                                                           Company
